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                      Exhibit 4
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                              DANIEL MASSOGLIA
                                      ATTORNEY AT LAW
 P: (336) 575-6968                                                    2865 W. LYNDALE ST. # 1
 E: DMASSOGLIA@GMAIL.COM                                              CHICAGO, IL 60647

                                                                                  January 9, 2017
Dionne Hardy
FOIA Office
Office of Management and Budget
1800 G Street NW, Room 9026
Washington, DC 20503

<sent to FOIA Office and OMB Director Mick Mulvaney via US Mail >

Re: OMB Freedom of Information Act Request 2017-320 - Appeal

Dear Ms. Hardy:

         Good afternoon. I represent Matthew Chapman, a FOIA Requester residing in the Northern
Judicial District of Illinois. This letter is an appeal regarding Freedom of Information Act
(“FOIA”) Request OMB FOIA 2017-320, sent July 11, 2017, denied with invitation to narrow
November 13, 2017, narrowed November 29, 2017, and ignored since.
         This letter appeals your agency’s initial denial of my client’s Request, on November 13,
2017, and your agency’s failure to timely respond to my client’s Narrowed Request, sent
November 29, 2017. My client seeks production of all responsive documents to his initial Request,
or, in the alternative, production of documents responsive to the Narrowed Request.

                                         The Requests

      My client’s initial Request was sent July 11, 2017 and was assigned a tracking number by
the Office of Management and Budget (“OMB”) July 13, 2018. “Transmission and
Acknowledgment,” attached as Exhibit A; “Request,” attached as Exhibit B. The Request sought:

       …the following metadata for all emails sent or received in the month of January 2017 by
       or from persons with email addresses ending “@omb.eop.gov”: 1. To address; 2. From
       address; 3. CC; 4. BCC; and 5. Date and Time.

Exhibit B.
       On November 13, 2017, following my repeated attempts to communicate with OMB,
OMB denied the Request as overly broad and issued an an invitation for my client to narrow his
parameters. See “OMB Denial Letter,” attached as Exhibit C. On November 29, 2017, my client
reduced the scope of the Request by limiting its time frame to only 7 days, a 78% reduction in
scope. See “Narrowed Request,” attached as Exhibit D (“My client narrows his request in
breadth as follows: for the same search terms, he reduces its scope from the entirety of January
2017 to metadata for the dates January 19-24 and January 30”).




                  DANIEL MASSOGLIA, 2865 W. LYNDALE ST., # 1, CHICAGO, IL 60647
                             DMASSOGLIA@GMAIL.COM | (336) 575-6968
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                               DANIEL MASSOGLIA
                                       ATTORNEY AT LAW
 P: (336) 575-6968                                                      2865 W. LYNDALE ST. # 1
 E: DMASSOGLIA@GMAIL.COM                                                CHICAGO, IL 60647

                         Breakdown in Communications on the Requests

        Informal attempts to obtain a timely determination on the initial Request were not fruitful.
On a single August 18, 2017 phone call, I spoke with OMB FOIA Officer Dionne Hardy, who told
me that while there was then no official determination in place, there was a “note” on my client’s
Request indicating that it should be denied as too broad. At that time, I informed Ms. Hardy that I
needed to consult with my client regarding his willingness to narrow the Request, and also offered
to consult with OMB’s counsel regarding the Request. We agreed to talk further but I was, despite
repeated attempts, unable to reach either Ms. Hardy or OMB Public Liaison and Chief FOIA
Officer Heather Walsh for further discussion.
        In the intervening months, OMB ignored multiple calls, emails, and voice messages related
to the Request. On August 11, August 18, September 1, September 25, and October 14, 2017, I
made phone calls to OMB FOIA Officer Hardy at (202) 395-3642, the telephone number listed on
the White House’s FOIA page for OMB. With the exception of the returned August 18 phone call,
OMB’s FOIA Office did not answer or return these calls.
        Also, on August 18, September 1, September 25, and October 27, 2017, I made phone calls
to OMB’s Public Liaison and Chief FOIA Officer Heather Walsh at (202) 395-7545, the telephone
number listed on the White House’s FOIA page for OMB. I left messages with OMB personnel or
an electronic system on each occasion, but OMB did not return or answer these phone calls.
        In emails sent August 9, August 18, August 22, August 31, and October 27, 2017, I sought
to discuss the Request with OMB personnel; OMB’s FOIA Office did not reply to any of these
emails.
        On November 13, 2017, without continued conversation as the parties had agreed, OMB
issued a denial in which it invited Mr. Chapman to submit a request with narrowed parameters.
OMB did not respond to Mr. Chapman’s November 29, 2017 Narrowed Request within 20
working days, and did not respond to an email message sent December 8, 2017 regarding this
Narrowed Request.

                                       Nature of the Appeal

        Mr. Chapman appeals: 1) the delay in rendering a determination on his Narrowed Request,
and seeks a timely determination of this appeal; and 2) the denial of his initial Request, which was
likely made with an incorrect understanding of nature of the data the Request seeks.
        To the first component of this appeal: although FOIA requires agencies issue a
determination on a given request within 20 working days, neither Mr. Chapman’s original Request
nor his Narrowed Request was handled properly within this 20-day time period. 5 U.S.C. §
552(a)(6)(A)(i). The July Request was not responded to until November, and the November
Request was not responded to within 20 working days, and it has not yet been addressed. In neither
circumstance did OMB avail itself of a legal route to extend the response time period—it did not
offer notice that “unusual circumstances” apply to this Request, nor did it toll the response period
to obtain additional information from the Requester or to negotiate issues related to fees. 5 U.S.C.
§§ 552(a)(6)(B), (a)(6)(A)(I)-(II). OMB should respond to this appeal within the appropriate time



                   DANIEL MASSOGLIA, 2865 W. LYNDALE ST., # 1, CHICAGO, IL 60647
                              DMASSOGLIA@GMAIL.COM | (336) 575-6968
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                               DANIEL MASSOGLIA
                                       ATTORNEY AT LAW
 P: (336) 575-6968                                                      2865 W. LYNDALE ST. # 1
 E: DMASSOGLIA@GMAIL.COM                                                CHICAGO, IL 60647

frame set out in the statute, and, if it does not overturn its denial of the initial Request, should
timely approve the Narrowed Request. 5 U.S.C. § 552(a)(6)(A)(ii).
        To the second component of this appeal: while the Request explicitly seeks only
metadata—the “to, from, cc, bcc, date, and time” information about email messages—the OMB
Denial Letter proceeds as if my client had requested email messages’ contents themselves. Many
of the justifications that OMB used to deny the Request stem from this faulty initial assumption.
        The OMB Denial Letter states that:

       it is highly likely that a significant percentage of responsive documents could be exempt
       from mandatory disclosure under FOIA. In particular, documents are likely to be exempt
       under FOIA Exemption 5 as being covered by… the deliberative process privilege, the
       attorney-client communications privilege, and/or the attorney-client work product
       privilege.

Exhibit C.
        Because the Request does not seek the content of emails, however, FOIA Exemption 5 and
these privileges cannot apply. The Request does not seek contents of letters or memoranda; it
simply does not cover the contents of communications (deliberative or otherwise). No privileged
information is requested—none could be. The narrow, metadata-only parameters of the Request
will not require Exemption 5 analysis, or indeed significant exemption analysis of any kind. It is
not “highly likely” that a significant percentage of responsive documents could be exempt, and the
OMB Denial Letter’s claims about the amount of time needed to review exemptions are made in
error.
        The OMB Denial Letter further errs when it describes the burden and time-cost to OMB in
processing the Request, which it states is overly broad. While my client’s Narrowed Request
reduces the breadth of the Request by 78%, the volume of data encompassed in either version of
the Request will not burden a competent IT department, which would possess tools to manage,
organize, and query large volumes of information at once. My client, a senior data engineer at a
technology company, offered his assistance to OMB regarding the Request, but, as described
above, the agency’s personnel have been difficult or impossible to get in touch with for
conversations that could have avoided the ongoing difficulty coming to a resolution on this matter.
        I look forward to receiving a determination on this appeal. With questions, please contact
me at 336-575-6968 or dmassoglia@gmail.com.

Best,
Daniel Massoglia
Counsel for Requester Matthew Chapman




                   DANIEL MASSOGLIA, 2865 W. LYNDALE ST., # 1, CHICAGO, IL 60647
                              DMASSOGLIA@GMAIL.COM | (336) 575-6968
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             Exhibit A
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            Exhibit B
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                               DANIEL MASSOGLIA
                                       ATTORNEY AT LAW
 P: (336) 575-6968                                                      1800 S. CARPENTER ST.
 F: (312) 256-2010                                                      SUITE 202
 E: DMASSOGLIA@GMAIL.COM                                                CHICAGO, IL 60608

Dionne Hardy
&
Heather Walsh
725 17th Street NW
Suite, 9204, 904
Washington, DC 20503
(202) 395-3504 (fax)

<transmitted electronically to OMBFOIA@omb.eop.gov>

                                                                                     July 11, 2017

Re: Freedom of Information Act Request from Matthew Chapman – Jan ’17 @omb.eop.gov
Metadata

Good evening Ms. Hardy,

Thank you for your guidance over the phone earlier.

This is a Freedom of Information Act request made to the Office of Management of Budget
under 5 U.S.C. § 552 et seq and in light of governing Chapter III regulations outlined in 5
C.F.R. 1303. I am legal counsel to Matthew Chapman and submit this request on his behalf.

Mr. Chapman is a senior data engineer and FOIA activist who sends this request as a non-
commercial, non-partisan effort in the public interest. His work seeks to help the public
understand the operations of government, including the Executive Office of the President
and the Office of Management and Budget. Mr. Chapman’s other work in this field has
helped the public interact with governments of Texas, Illinois, and elsewhere.

This request seeks only the metadata from the search described below—it explicitly does
not request the content or contents of any email. Please inform my office if any fee in
processing the request if is expected.

Specific Request:

Please provide the following metadata for all emails sent or received in the month of
January 2017 by or from persons with email addresses ending “@omb.eop.gov”:

   1. To address;
   2. From address;
   3. CC;


              DANIEL MASSOGLIA, 1800 S. CARPENTER ST, SUITE 202, CHICAGO, IL 60608
                    DMASSOGLIA@GMAIL.COM | P: (336) 575-6968 | F: (312) 256-2010
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                              DANIEL MASSOGLIA
                                      ATTORNEY AT LAW
 P: (336) 575-6968                                                     1800 S. CARPENTER ST.
 F: (312) 256-2010                                                     SUITE 202
 E: DMASSOGLIA@GMAIL.COM                                               CHICAGO, IL 60608
   4. BCC; and
   5. Date and Time.

My client is happy to make himself available and assist in creating appropriate database
queries or scripts to make this matter easier to manage. If your office prefers to navigate
this somewhat novel request in concordance with the requester please let us know times at
which you might be available for a conference call or other form of meeting to begin this
effort.

Requested records should not be subject to exemptions or exclusion under statute or to
limitation by federal regulations present or pending.

With questions, feel free to reach me at 336 575 6968 during business hours and
dmassoglia @ gmail.com at any time.

Thank you,
Daniel Massoglia




             DANIEL MASSOGLIA, 1800 S. CARPENTER ST, SUITE 202, CHICAGO, IL 60608
                   DMASSOGLIA@GMAIL.COM | P: (336) 575-6968 | F: (312) 256-2010
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              Exhibit C
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            Exhibit D
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